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   Samsung Research America, Inc.
12

13                                  UNITED STATES DISTRICT COURT

14                                 NORTHERN DISTRICT OF CALIFORNIA

15                                         SAN FRANCISCO DIVISION

16 HUAWEI TECHNOLOGIES CO., LTD., et al.,              CASE NO. 16-cv-02787-WHO

17                   Plaintiffs,                       DECLARATION OF MARK GRAY IN
                                                       SUPPORT OF HUAWEI’S
18            v.                                       ADMINISTRATIVE MOTION TO FILE
                                                       UNDER SEAL PORTIONS OF
19 SAMSUNG ELECTRONICS CO., LTD., et al.,              HUAWEI’S OPPOSITION TO
                                                       SAMSUNG’S MOTION FOR
20                   Defendants.                       JUDGMENT ON THE PLEADINGS
                                                       REGARDING HUAWEI’S CAUSE OF
21                                                     ACTION FOR DECLARATORY
   SAMSUNG ELECTRONICS CO., LTD. &                     JUDGMENT OF FRAND TERMS AND
22 SAMSUNG ELECTRONICS AMERICA, INC.,                  CONDITIONS FOR A CROSS-LICENSE

23              Counterclaim-Plaintiffs,
24       v.
25 HUAWEI TECHNOLOGIES CO., LTD.,
   HUAWEI DEVICE USA, INC., HUAWEI
26 TECHNOLOGIES USA, INC. & HISILICON
   TECHNOLOGIES CO., LTD.,
27
         Counterclaim-Defendants.
28

                                                                     CASE NO. 16-cv-02787-WHO
                      GRAY DECLARATION ISO HUAWEI’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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 1         I, Mark Gray, declare as follows:
 2         1.      I am a member of the State Bar of California and an attorney at the law firm of
 3 Quinn Emanuel Urquhart & Sullivan, LLP, counsel for Defendants and Counterclaim-Plaintiffs

 4 Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc., and Defendant Samsung

 5 Research America, Inc. (collectively, “Samsung”). Except as otherwise indicated, I have personal

 6 knowledge of the facts set forth in this declaration, and, if called upon as a witness, I could and

 7 would testify to such facts under oath.

 8         2.      Pursuant to Civil L.R. 7-11 and 79-5, I make this declaration in support of
 9 Huawei’s Administrative Motion to File Under Seal Portions of Huawei’s Opposition to
10 Samsung’s Motion For Judgment On The Pleadings Regarding Huawei’s Cause Of Action For

11 Declaratory Judgment Of FRAND Terms And Conditions For A Cross-License.

12         3.      I have reviewed the portions of Huawei’s Opposition that contain or suggest
13 Samsung confidential information.         I have specifically reviewed the following portions of
14 Samsung’s motion and supporting exhibits, all of which contain information Samsung claims as

15 confidential:

16

17                    Document                          Portions to be Filed Under Seal
          Huawei’s Opposition                    Yellow-highlighted portions (page 4, lines 11-
18                                               18)
19        Huawei’s Opposition                    Green-highlighted portions (page 2, lines 8, 10;
                                                 page 3, lines 20-22, 24-25; page 4, lines 1-8,
20                                               19-28; page 5, lines 1, 3; page 9, lines 7-8, 13-
21                                               14; page 13, line 9
          Huawei’s Opposition,                   Entire Document
22
          Exhibits A-F, H-N,
23        P-Q
24        Huawei’s Opposition,                   Entire document
          Exhibits G & R
25

26         4.      Exhibits A-E, G, and H-M are copies of negotiations correspondence and positions
27 between the parties. The yellow highlighting in Huawei’s opposition are quotes and descriptions

28 of the same documents, and Exhibit F is a deposition excerpt of Samsung witness Hojin Chang,

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 1 answering questions that quote from the same negotiation documents. As Samsung explained in

 2 the sworn declaration of Hojin Chang, Dkt. 41-1, and the Declaration of Cole Malmberg, Dkt.

 3 234-1, Samsung and Huawei signed a non-disclosure agreement regarding their patent licensing

 4 negotiations, and such negotiations information is treated as confidential. Samsung considers

 5 negotiation information highly confidential and does not disclose it to the public. Disclosure of

 6 negotiations positions to the public would harm Samsung’s competitive standing by giving

 7 competitors insight into Samsung’s past licensing positions and practices. Samsung does not have

 8 access to similar information about its competitors, which could result in an information

 9 asymmetry in future licensing negotiations, placing Samsung at a disadvantage.             The Court
10 previously ordered the parties’ negotiations positions and documents reflecting those negotiations

11 sealed at Dkt. 103 at 18-19 (finding “compelling justification” for sealing) and Dkt. 270 at 3.

12           5.    Exhibits N and P-Q, and R are excerpts from expert reports in this case that analyze
13 Samsung’s licenses and sales information, as well as the negotiations materials in this case. For

14 example, Exhibit N quotes Huawei’s representations during the licensing negotiations, Exhibit P

15 refers to negotiation correspondence and representations made by Huawei during the negotiations,

16 Exhibit Q selects regions for analysis based on Samsung sales data, and Exhibit R reveals

17 Samsung sales revenue in particular regions in order to weight the value of patents in particular

18 regions. Samsung considers the information contained in these exhibits highly confidential and

19 would face competitive harm from their disclosure.
20           6.    The portions of Huawei’s Opposition that are highlighted in green and cited by
21 page and line above reveal the content of the parties’ negotiations correspondence and positions,

22 as well as quote sensitive information from Samsung’s expert reports.             Disclosure of this
23 information would result in similar competitive harm to the other material Samsung requests be

24 sealed.

25           7.    Samsung does not claim confidentiality over the following portions of Huawei’s
26 opposition that are highlighted in green: page 2, lines 3-5; page 3, lines 17-18; page 7, lines 18-22;
27 page 14, lines 24-26; and page 15, lines 1-5. Once the Court rules on Huawei’s motion to seal,

28 Samsung will work with Huawei to prepare and file an updated opposition brief that does not

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 1 redact these lines and otherwise conforms to the Court’s order on sealing.

 2

 3         I declare under penalty of perjury under the laws of the United States of America that the
 4 foregoing is true and correct to the best of my knowledge. Executed June 26, 2018, in Redwood

 5 City, California.

 6

 7                                                      /s/ Mark Gray
                                                        Mark Gray
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 1                                           ATTESTATION
 2         I, Victoria F. Maroulis, am the ECF user whose ID and password are being used to file the
 3 above Declaration. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that Mark Gray has

 4 concurred in the aforementioned filing.

 5
                                                      /s/ Victoria F. Maroulis
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                                                      Victoria F. Maroulis
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